PROB 12C
(NEP 4/2013)
                          IN THE UNITED STATES DISTRICT COURT
SEALED                        FOR THE DISTRICT OF NEBRASKA

               Amended Petition for Warrant or Summons for Offender Under Supervision
 Offender:               Patrick John Keenan                                   Docket No. 8:13CR00137

Type of Supervision: Supervised Release                          Date of This Report: November 10, 2020

Sentencing Judge:       The Honorable John M. Gerrard
                        Chief U.S. District Judge

Offense of Conviction: Possession with Intent to Deliver 5 Grams or More Actual Methamphetamine [21
                       U.S.C. 841(a)(1) and (b)(1)(B)]
                       Date Sentenced: December 20, 2013
                       Original Sentence: 70 Months Bureau of Prisons; 48 Months Supervised Release

Prior Revocation:       Date of Revocation:   September 19, 2019
                        Sentence: 10 Months Bureau of Prisons; 12 Months Supervised Release

Supervision Term:       March 10, 2020 through March 9, 2021

 Prepared By:                       Assistant U.S. Attorney:            Defense Attorney:
 Kala A. Hayden                     Martin J. Conboy, IV                Kelly Steenbock
                                                                        AFPD

                                      PETITIONING THE COURT

The undersigned probation officer recommends that a Warrant be issued for service upon Patrick John
Keenan and that a hearing be held by the Court to determine whether the offender has violated the
conditions of supervision as set forth in this report and to determine whether the offender's supervision
should be revoked or continued, modified, and/or extended based on the alleged violations. A Warrant is
requested as Patrick John Keenan is being discharged from NOVA Therapeutic Community due to verbal
threats. To expedite the issuance of a warrant, the Violation Provisions and Recommendation document is
not included, but will be provided to the Court by November 17, 2020.

Allegation #3 was added to reflect failure to comply with treatment as directed.
Patrick John Keenan                                                                             November 10, 2020
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The probation officer believes the offender has violated the following conditions of supervision:

 Allegation No.       Nature of Noncompliance
         1            Patrick John Keenan is in violation of the Mandatory Condition which states, "You must
                      not unlawfully possess a controlled substance.

                      On April 10, 2020, Mr. Keenan was found to be in possession of suspected K2 by Dismas
                      staff. During his public law placement, staff at Dismas Charities located suspected K2 in
                      Mr. Keenan s propert .
                      If the Court finds the offender has violated the conditions of supervision by possessing
                      a controlled substance, the Court shall revoke supervision and impose a sentence
                      which includes a term of imprisonment."

          2           Patrick John Keenan is in violation of Special Condition q which states, "You must reside
                      in a residential reentry center (RRC) for a period of up to 180 days in the correctional
                      component, to commence at the direction of the probation officer, and you must observe
                      the rules of that facility. You may be discharged earlier than 180 days by the probation
                      officer, if you are determined to be in full compliance with the conditions of supervision."

                      On April 10, 2020, Mr. Keenan was removed from his public law placement at Dismas
                      Charities in Omaha, Nebraska. Staff at Dismas Charities reported Mr. Keenan was in
                      violation of program rules by smoking in the bathroom, possessing an unauthorized cell
                      phone, and possessing unauthorized medication, specifically two loose pills identified by
                      staff as Quetiapine Fumarate.

          3           Patrick John Keenan is in violation of Releasing Defendant From Custody (Filing #121)
                        hich states, If the Defendant fails to remain at NOVA Residential Treatment Center,
                      and obey all the rules of NOVA, the Court shall be notified immediately so that a warrant
                      ma issue.

                      On November 9, 2020, Mr. Keenan was found to have made verbal threats to another
                      resident at NOVA. According to the counselor, Mr. Keenan was confronted and held
                      responsible for his verbal threats. Mr. Keenan did not take responsibility for his actions.
                      NOVA has a zero-tolerance policy for threats or acts of violence; however, Mr. Keenan
                      was given another chance on November 10, 2020, to take responsibility for his actions.
                      According to the counselor, Mr. Keenan admitted to his statements, but justified them by
                      minimizing his behavior and putting blame on others for his actions. On November 10,
                      2020, staff at NOVA learned of a third threat of violence made by Mr. Keenan towards the
                      same indi idual. Due to Mr. Keenan s beha ior and the iolation of program rules, Mr.
                      Keenan is being discharged unsatisfactorily from NOVA.

I declare under penalty of perjury that the forgoing is true and correct.

Respectfully submitted,                                       Reviewed by:


Kala A. Hayden                                                Kimi J. Jensen, Supervising
U.S. Probation and Pretrial Services Officer                  U. S. Probation and Pretrial Services Officer
Patrick John Keenan                                                                             November 10, 2020
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THE COURT ORDERS THAT:


               No action shall be taken.

   X           A Warrant shall be issued for service upon Patrick John Keenan and a hearing held by the Court
               to determine whether Patrick John Keenan has violated the conditions of supervision as set out in
               the foregoing report and to determine whether the term of supervision should be revoked,
               continued, modified, and/or extended based on the alleged violations.

               The U. S. Probation Officer shall summons Patrick John Keenan to appear for a hearing in court
               to determine whether Patrick John Keenan has violated the conditions of supervision as set out in
               the foregoing report and to determine whether the term of supervision should be revoked,
               continued, modified, and/or extended based on the alleged violations.

               The following action to be taken (specify other action):


                                                                      November 10, 2020
The Honorable John M. Gerrard                                        Date
Chief U.S. District Judge


                                       * * * NOTICE TO OFFENDER * * *

       Pursuant to the Federal Rules of Criminal Procedure 32.1(b)(2) you are entitled to:
        (A)   written notice of the alleged violation(s);
        (B)   disclosure of the evidence against you;
        (C)   an opportunity to appear, present evidence, and question adverse witnesses unless the court
              determines that the interest of justice does not require the witness to appear;
        (D)   notice of your right to retain counsel or to request that counsel be appointed if you cannot obtain
              counsel.
